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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------- X
MICHELLE LUGONES, MARCUS SIEZING,                             :
CLAUDIA VASSALLO and TRICIA RIZZI                             :   Civil Action No.: 19-cv-02097
Plaintiffs, on behalf of themselves and as                    :
proposed class representatives of a Class of                  :
similarly situated individuals, and                           :   STIPULATION OF DISMISSAL
                                                              :   WITH PREJUDICE
ANNE FLOURNOY,                                                :
Plaintiff and member of the putative Class,                   :
                                                              :
                   v.                                         :
                                                              :
PETE AND GERRY’S ORGANICS, LLC                                :
                                                              :
                                      Defendant.              :
                                                              :
------------------------------------------------------------- X

         IT IS HEREBY STIPULATED AND AGREED, by and between the parties, that this

action be dismissed in its entirety with prejudice and without costs to any party as against the

other.

Dated:            New York, New York
                  May 27, 2020

                                                         PRETI FLAHERTY BELIVEAU &
WIGDOR LLP                                               PACHIOS LLP


     /s/ Jeanne M. Christensen
By: __________________________                                /s/ Nathan R. Fennessy
                                                         By: __________________________
      Jeanne M. Christensen                                    Nathan R. Fennessy

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Counsel for Plaintiffs                                   Counsel for Defendants


SO ORDERED:                ___________________________________
                           THE HON. KATHERINE POLK FAILLA
